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 1                                                                       HONORABLE TANA LIN

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 7
                              UNITED STATES DISTRICT COURT
 8                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 9

10   BARONIUS PRESS, LTD., an Isle of Man
     limited company,
11                                                    NO. 2:22-CV-01635-TL
                                   Plaintiff,
12                                                    PLAINTIFF BARONIUS PRESS, LTD.’S
            v.                                        SECOND AMENDED VERIFIED
13                                                    COMPLAINT FOR DAMAGES
     FAITHLIFE LLC, a Delaware limited
14   liability company,
15                                 Defendants.
16

17         Plaintiff Baronius Press Ltd (“Plaintiff”), by and through its attorneys, hereby alleges

18   upon knowledge and belief as to its own acts, and upon information and belief as to all other

19   matters, for its Second Amended Verified Complaint (“Complaint”) against Defendant
20
     Faithlife, LLC (“Defendant”), as follows:
21
                                  I. PRELIMINARY STATEMENT
22
            1.    Plaintiff brings this lawsuit against Defendant for violations of inter alia the U.S.
23
     Copyright Act, 17 U.S.C. § 101 et seq. (“Copyright Act”) and the Digital Millennium Copyright
24

25   Act, 17 U.S.C. § 1202 et seq. (“DMCA”), and alleges two claims of Copyright Act violations

26   concerning two (2) copyright-protected works, Grundriss der katholischen Dogmatik
     SECOND AMENDED VERIFIED                                            GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 1                                          MANSUKHANI, LLP
                                                                        701 5th Avenue, Suite 2100
                                                                        Seattle, WA 98104
                                                                        Telephone: (206) 695-5100
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             Case 2:22-cv-01635-TL         Document 48       Filed 04/10/23      Page 2 of 32




 1   (“Grundriss”) and the English translation Fundamentals of Catholic Dogma (“Fundamentals”)
 2   in which Plaintiff either owns all copyright rights, or holds the exclusive rights to publish such
 3
     work.
 4
             2.     Between years 2011-2013, Defendant infringed the copyrights in Grundriss and
 5
     Fundamentals. As a result of such infringement by Defendant and after negotiations, Plaintiff
 6

 7   and Defendant executed a “Mutual Release and Settlement Agreement” in 2015.

 8           3.     Upon information and belief, from March to June 2019, Defendant with full

 9   knowledge that it would infringe Plaintiff’s copyrights, unlawfully reproduced and distributed
10
     at least seventy-five copies of Fundamentals in which Defendant held neither copyright rights
11
     nor publication rights.
12
             4.     Upon information and belief, Defendant knowingly, and with an intent to induce,
13
     enable, facilitate, or conceal its infringement, knowingly provided false copyright management
14

15   information (“CMI”) in at least seventy-five copies of Fundamentals that it reproduced and

16   distributed.
17           5.     Due to Defendant’s flagrant and willful copyright infringement, and lack of action
18
     by Defendant to remove its false and misleading posts on its online forums, Plaintiff is left with
19
     no choice but to file this lawsuit seeking (i) permanent injunctive relief; (ii) an accounting and
20
     award of Defendant’s profits; (iii) statutory damages for each acts of copyright infringement;
21

22   (iv) an award of statutory damages, for each DMCA violation; (v) an award of costs and

23   attorneys’ fees; and (vi) such other and further relief as the Court deems just and proper.

24

25

26
     SECOND AMENDED VERIFIED                                             GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 2                                           MANSUKHANI, LLP
                                                                         701 5th Avenue, Suite 2100
                                                                         Seattle, WA 98104
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 1                                                II. THE PARTIES
 2           6.      Plaintiff Baronius Press Ltd (“Plaintiff”) is a corporation organized under the laws
 3
     of the Isle of Man, British Isles, and has a principal place of business at St. Mary’s The Parade,
 4
     Castletown, Isle of Man, IM9 1LG.
 5
             7.      Defendant Faithlife, LLC (“Defendant”) is a limited liability company organized
 6

 7   under the laws of the State of Delaware, doing business as “Faithlife”, “Logos”, “Verbum”,

 8   “Lexham Press” and possibly other trade names with a principal place of business at 1313

 9   Commercial St, Bellingham, WA 98225, and is doing business throughout the state of
10
     Washington, including in counties located within the Western District of Washington.
11
             8.      After engaging in the acts as alleged in this Complaint, Plaintiff converted and
12
     merged all of its “Faithlife” legal entities1 into one Delaware limited liability company, and it
13
     became the predecessor of interests for all the “Faithlife’ legal entities that converted and
14

15   merged into it, and is now liable for their acts.

16                                     III. JURISDICTION AND VENUE
17           9.      This is a civil action seeking damages and injunctive relief for copyright
18
     infringement under the Copyright Act of the United States, 17 U.S.C. § 101, et seq. and for
19
     violation of the DMCA, 17 U.S.C. § 1202 et seq.
20
             10.     The complained of actions set out below took place in, among other places, the
21

22   Western District of Washington, including at Defendant’s place of business in Bellingham,

23   Washington.

24

25   1
      Upon information and belief, Defendant’s “Faithlife” legal entities that merged into the Delaware limited liability
     company include but are not limited to: (i) Logos Research Systems, Inc.; and (ii) Faithlife Corporation.
26
     SECOND AMENDED VERIFIED                                                         GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 3                                                       MANSUKHANI, LLP
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                                                                                     Seattle, WA 98104
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                                                                                     Facsimile: (206) 689-2822
            Case 2:22-cv-01635-TL          Document 48        Filed 04/10/23       Page 4 of 32




 1          11.    This Court has subject matter jurisdiction under the copyright laws of the United
 2   States, 17 U.S.C. § 101 et seq., under Sections 1331 and 1338 of the Judicial Code, 28 U.S.C.
 3
     §§ 1331, 1338(a) and (b) and 1367(a). This Court also has jurisdiction pursuant to 28 U.S.C. §
 4
     1332, as there is diversity between the parties and the matter in controversy exceeds, exclusive
 5
     of interest and costs, the sum of seventy-five thousand dollars.
 6

 7          12.    This Court has personal jurisdiction over Defendant because, among other things,

 8   Defendant is located and is transacting, doing and soliciting business in this State and judicial

 9   district, a substantial part of the relevant events occurred in this State and judicial district,
10
     including but not limited to, committing infringing acts in this State and judicial district, and
11
     caused and continues to cause harm to Plaintiff in this State and judicial district.
12
            13.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b)(1), 1391(b)(2)
13
     and 1391(c), and/or § 1400(a) and (b) because a substantial part of the acts and omissions which
14

15   is the subject of this Complaint occurred within the counties of the Western District of

16   Washington.
17                                  IV. COMMON ALLEGATIONS
18
            Plaintiff’s Background
19
            14. Plaintiff Baronius Press, Ltd. was established in 2002 and is a small publisher of
20
     traditional Catholic books and Bibles, with two full time personnel and generating revenues of
21

22   approximately $1.5 million per year. Plaintiff is well known in its industry for updating and

23   republishing several titles that were previously out of print for many decades. Currently, Plaintiff

24   has published over fifty (50+) titles. Over the past twenty years, Plaintiff has acquired all rights
25

26
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     COMPLAINT FOR DAMAGES - 4                                            MANSUKHANI, LLP
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 1   in, or the exclusive right to publish, several literary works and English-language translations
 2   thereof.
 3
             Defendant’s Background
 4
             15.    Upon information and belief, Defendant was originally founded in 1992 as Logos
 5
     Research Systems, Inc. and known as Logos Bible Software. At such time, Defendant started as
 6

 7   a provider of digital Bible technology for Evangelical Protestants, but now claims to be the

 8   largest developer of Christian study with its software technology being used in more than 210

 9   countries in a dozen languages. Defendant began its Verbum branded Catholic division of Logos
10
     Bible Software in 2011. Defendant claims its “goal is not only to create the best Catholic study
11
     tools available, but to serve the Church by making Scripture and Tradition more accessible all
12
     over the globe.”
13
             16.    Upon information and belief, Defendant is a sophisticated and successful company
14

15   with offices in three (3) US states and Mexico, with over 400 employees2 and estimated revenues

16   over $72 million per year.3
17           17.    Upon information and belief, Defendant runs, as part of Defendant’s websites,
18
     online forums Faithlife Forums/Logos Forums at https://community.logos.com/forums/ and
19
     Book Suggestions for its Logos brand at https://suggestbooks.uservoice.com/ (collectively,
20
     “Forums”), where people can hold conversations in the form of posted messages.
21

22           18.    Upon information and belief, Defendant’s Forums, as of June 07, 2019, reached

23   the one million-post mark in the Forums, and over 250,000 users.

24
     2
      See https://www.linkedin.com/company/faithlife (last visited December 30, 2022).
25   3
       See https://growjo.com/company/Faithlife (last visited December 30, 2022); and
     https://www.zoominfo.com/c/faithlife-corp/368797002 (last visited December 30, 2022).
26
     SECOND AMENDED VERIFIED                                                    GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 5                                                  MANSUKHANI, LLP
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 7
     https://community.logos.com/forums/t/181881.aspx (last visited October 25, 2022).
 8
             19.    Upon information and belief, Defendant licenses from various copyright owners’
 9

10   rights to literary works, texts and other content for use in Defendant’s software platform.

11           20.    Upon information and belief, Bob Pritchett was the President/CEO of Defendant

12   between January 1992 and January 2022.
13           21.    Upon information and belief, Mr. Craig St. Clair was employed by Defendant as
14
     Verbum Product Manager between September 2017 and March 2020. A true and correct copy
15
     of Mr. Craig St. Clair’s LinkedIn personal profile is attached and incorporated hereto as
16
     Exhibit 1.
17

18           22.    Upon information and belief, Mr. Craig St. Clair “grew the Verbum line of

19   business from $1.7 million to $2.2 million annually”. See Exhibit 1.

20           23.    Upon information and belief, Mr. Craig St. Clair “guided sales and marketing
21
     efforts, including regular monthly promotions (B2C)” and “organized and led a conference team
22
     of four that put Verbum in front of 30,000 people and netting over $20,000 in sales annually.”
23
     See Exhibit 1.
24

25

26
     SECOND AMENDED VERIFIED                                                     GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 6                                                   MANSUKHANI, LLP
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 1           24.    Upon information and belief, Mr. Craig St. Clair “developed and expanded the
 2   Verbum 8 standard line to 30+ products, including a software package created in collaboration
 3
     with the Pontifical Biblical Institute in Rome.” See Exhibit 1.
 4
             Plaintiff’s Copyright Rights as Exclusive Owner or Exclusive Licensee
 5
             25.    Plaintiff is either the sole and exclusive owner of all copyright rights in and to the
 6

 7   works listed in Table 1 below, or is the exclusive licensee of the exclusive right to publish the

 8   work or publish any English-language translation of the work.

 9                                                  Table 1
                                                                             Plaintiff holds by Plaintiff
            a) English-language Work                                Work is
10    Title b) Original (foreign-language)         Author          Copyright
                                                                             License Exclusive Owns All
                                                                                Publication     Copyright
                underlying Work                                    Protected
11                                                                                Rights         Rights
        a) Fundamentals of Catholic Dogma Dr. Patrick Lynch           Yes                         Yes
12    1    Grundriss der katholischen
        b)                                Ludwig Ott                  Yes           Yes
           Dogmatik
13    2    The Knox Bible                 Msgr. Ronald Knox.          Yes           Yes
                                          Father Gabriel of St.
      3    Divine Intimacy                                            Yes           Yes
14                                        Mary Magdalen, O.C.D.

15           26.    The works listed in Paragraph 25’s Table 1 above will hereinafter be collectively

16   referenced to as the “Works”.
17           27.    The Works are original works of authorship embodying copyrightable subject
18
     matter. As the owner of all rights under copyright in the Works, Plaintiff is entitled to all of the
19
     exclusive rights and remedies accorded by U.S. copyright law to a copyright owner. Upon
20
     information and belief, the Works are not “United States works” as that clause is used in Section
21

22   411(a) of the Copyright Act, as they were first published in countries outside the U.S., were

23   authored by nationals or domiciliaries of countries other than the U.S., and were not

24   simultaneously published in the U.S. The United States is a signatory to the Berne Convention
25

26
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 1   and, in order to comply with Article 5(2) of the Berne Convention, the Copyright Act’s
 2   registration requirement for “United States works” (Section 411(a)) does not apply to non-U.S.
 3
     works.
 4
              Fundamentals and Grundriss Works and Plaintiff’s Acquired Copyrights In Them
 5
              28.   The German-language underlying work entitled Grundriss der katholischen
 6

 7   Dogmatik (“Grundriss”) was authored by Ludwig Ott (a national or domiciliary of Germany)

 8   and first published in Germany in 1952 by Verlag Herder & Co. A true and correct copies of the

 9   documents showing the history of the copyright timeline of Grundriss are attached and
10
     incorporated hereto as Exhibit 2.
11
              29.   Grundriss is an original work of authorship fixed in a tangible medium of
12
     expression.
13
              30.   Regina Ott, a sister of Ludwig Ott, become the sole heiress of his estate after
14

15   Ludwig Ott passed away on August 25, 1985 and donated the estate of Ludwig Ott to Seminary

16   of the diocese of Eichstätt (“Seminary”) in Germany on October 7, 1985. See Exhibit 2.
17            31.   Upon information and belief, Grundriss was not published in the U.S. during the
18
     30-day period following its first publication in Germany, was never in the public domain in
19
     Germany through expiration of the term of copyright protection in that country, but was in the
20
     public domain in the U.S. from 1952 (because it did not comply with formalities imposed at any
21

22   time by U.S. law), until its copyright was restored on January 1, 1996 under the Uruguay Round

23   Agreements Act (Public Law No.103-465, 108 Stat. 4809) (“URAA”) to Seminary.

24            32.   In July 2004, Seminary granted exclusive controlling rights for Grundriss to nova
25   et vetera (“Nova”). In November 2008, Seminary granted the rights to an English-language
26
     SECOND AMENDED VERIFIED                                            GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 8                                          MANSUKHANI, LLP
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                                                                        Facsimile: (206) 689-2822
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 1   edition of Grundriss (“Grundriss English Edition”) to Nova for the remaining duration of the
 2   copyright. See Exhibit 2.
 3
            33.    In 2009, Plaintiff signed an agreement with Nova and obtained the exclusive right
 4
     to reproduce, adapt, and distribute Grundriss English Edition. See Exhibit 2.
 5
            34.    Plaintiff registered, on behalf of the copyright owner Seminary, the original
 6

 7   German work Grundriss with the U.S. Copyright Office, and received U.S. Copyright

 8   Registration No. TX-6-484-646 dated February 21, 2014. See Exhibit 2.

 9          35.    The record of the copyright registration for Grundriss is publicly available at U.S.
10
     Copyright Office website www.copyright.gov. See Exhibit 2.
11
            36.    The English-language translation of Grundriss entitled Fundamentals of Catholic
12
     Dogma (“Fundamentals”) was commissioned by Mercier Press, Ireland as work for hire to Dr.
13
     Patrick Lynch (“Translator”). Mercier Press paid a fee of 259.10 Irish pounds to the Translator
14

15   and became an initial copyright holder of Fundamentals. A true and correct copies of the

16   documents showing the history of the copyright timeline of Fundamentals are attached and
17   incorporated hereto as Exhibit 3.
18
            37.    Fundamentals was first published by Mercier Press in Ireland in 1955 and it was
19
     never in the public domain in Ireland through expiration of the term of copyright protection in
20
     Ireland.
21

22          38.    Fundamentals is an original work of authorship fixed in a tangible medium of

23   expression.

24          39.    Upon information and belief, Fundamentals was not published in the U.S. during
25   the 30-day period following its first publication in Ireland, but was in the public domain in the
26
     SECOND AMENDED VERIFIED                                             GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 9                                           MANSUKHANI, LLP
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 1   U.S. from 1955 (because it did not comply with formalities imposed at any time by U.S. law).
 2   The copyright to Fundamentals was restored on January 1, 1996 under the URAA to its initial
 3
     copyright holder Mercier Press.
 4
             40.   In 2010, Plaintiff acquired from Mercier Press all copyright rights in and to
 5
     Fundamentals. See Exhibit 3.
 6

 7           41.   Plaintiff registered Fundamentals with the U.S. Copyright Office, and received

 8   U.S. Copyright Registration No. TX-6-484-647, which was issued on February 21, 2014. See

 9   Exhibit 3.
10
             42.   The record of the copyright registration for Fundamentals is publicly available at
11
     U.S. Copyright Office website www.copyright.gov. See Exhibit 3.
12
             43.   Fundamentals is known to have several historical, theological and substantial
13
     grammatical errors. Due to errors in the original English translation which undermined the
14

15   reputation of Fundamentals, the exclusive license from Nova required Plaintiff to publish

16   Fundamentals only after it had been revised, corrected and approved by Nova. See Exhibit 2.
17           44.   In April 2018, Plaintiff published its new fully revised and updated edition of
18
     Fundamentals.
19
             Defendant’s Prior Unlawful Activities Involving Fundamentals and Grundriss
20
     Works
21

22           45.   Upon information and belief, between years 2011-2013, Defendant infringed the

23   copyright of Fundamentals by selling approximately 1600 copies of Fundamentals.

24           46.   In 2013, Plaintiff contacted the Defendant regarding the alleged infringement.
25

26
     SECOND AMENDED VERIFIED                                           GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 10                                        MANSUKHANI, LLP
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 1           47.    After long negotiations, Plaintiff and Defendant executed a “Mutual Release and
 2   Settlement Agreement” on January 29, 2015. The “Mutual Release and Settlement Agreement”
 3
     was executed by Defendant’s Chief Executive Officer.
 4
             48.    Prior to and after executing the parties’ “Mutual Release and Settlement
 5
     Agreement,” Defendant was fully aware of Plaintiff’s ownership of the copyrights in
 6

 7   Fundamentals and Grundriss English Edition through its actual and constructive knowledge of

 8   Plaintiff’s copyright rights, and that it was not authorized by Plaintiff to reproduce, adapt or

 9   distribute copies of Fundamentals and Grundriss English Edition.
10
             Defendant’s New Unlawful Activities on Fundamentals and Grundriss Works
11
             49.    Defendant began publishing Fundamentals again on or around March 24, 2019.
12
     This was announced in a post by a user on Defendant’s online Forums stating “[Fundamentals
13
     is] now available for $12.49 USD.” Printout of Defendant’s Forums “Ludwig Ott's
14

15   Fundamentals of Catholic Dogma is Back!” is attached and incorporated hereto as Exhibit 4.

16

17

18

19   Exhibit 3: https://community.logos.com/forums/t/180933.aspx (last visited October 25, 2022).

20           50.    Subsequently, Defendant made a post on the same online Forum that
21
     Fundamentals was withdrawn from sale, and an acknowledgement that Defendant did not have
22
     the right to publish Fundamentals, i.e., “Sorry to be the bearer of bad news, but this was
23
     inadvertently turned to live as part of another Logos project. Verbum still doesn’t have the rights
24

25   to product this, but we are going to revisit the rights situation with both the German publisher

26   (Herder) and a newer U.S. publisher (Baronius) to see if we can get this licensed.”.
     SECOND AMENDED VERIFIED                                                     GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 11                                                  MANSUKHANI, LLP
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 5   Exhibit 4: https://community.logos.com/forums/t/180933.aspx (last visited October 25, 2022).

 6           51.    The following morning on April 25, 2019, Defendant made a new post stating that
 7   “Upon further review and discussion on the product team, this text [Fundamentals] can be made
 8
     available for sale. Whenever there is a doubt about the rights of a given title, we will always
 9
     pull it from Verbum.com [i.e., Defendant’s website] until we can get clarity. I'm just happy to
10
     report that we got clarity on this title MUCH more quickly than we usually do.”
11

12

13

14

15
     Exhibit 4: https://community.logos.com/forums/t/180933.aspx (last visited October 25, 2022).
16

17           52.    Defendant did not reveal to the public on its online Forums the reason why it “got

18   clarity on this title MUCH more quickly than we usually do”.
19           53.    Users of Defendant’s online Forums applauded the decision of Defendant in their
20
     posts, i.e., “Very sensible—with excellent results in this case.” and “Yes! Thank You! I have
21
     wanted this in Verbum for years!”.
22

23

24

25

26
     SECOND AMENDED VERIFIED                                                     GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 12                                                  MANSUKHANI, LLP
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 8
     Exhibit 4: https://community.logos.com/forums/t/180933.aspx (last visited October 25, 2022).
 9

10           54.    On May 10, 2019, Plaintiff made a press release announcing that it had come to

11   an out of court settlement with St. Benedict Press, owner of the TAN Books imprint, for a

12   litigation which included Fundamentals. This press release was covered by various Catholic
13   media news servers, blogs, etc. A sample of the press release and coverage is attached and
14
     incorporated hereto as Exhibit 5.
15
             55.    Upon information and belief, Defendant stopped reproducing and distributing,
16
     Fundamentals on or around June 26, 2019. Defendant posted the explanation of its decision on
17

18   its online Forums, stating that they “learned more recently--and definitively--that the book has

19   a new copyright holder.”

20

21

22

23

24   Exhibit 4: https://community.logos.com/forums/t/180933.aspx (last visited October 25, 2022).

25

26
     SECOND AMENDED VERIFIED                                                     GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 13                                                  MANSUKHANI, LLP
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            Case 2:22-cv-01635-TL             Document 48          Filed 04/10/23         Page 14 of 32




 1           56.    In the same post of June 26, 2019, Defendant claimed it was “attempting to work
 2   with [the new copyright holder] to license the book.”.
 3
             57.    Defendant never mentioned the name of this “new copyright holder” on its online
 4
     Forums.
 5
             58.    Defendant’s statement that it was “attempting to work with [the new copyright
 6

 7   holder] to license the book” caused some members of its Forums to believe that Defendant was

 8   indeed in the process of obtaining a permission to reproduce and distribute Fundamentals.

 9

10

11

12   Exhibit 4: https://community.logos.com/forums/t/180933.aspx (last visited October 25, 2022).

13           59.    Plaintiff did not receive any correspondence from Defendant to license or sell its
14   rights to Grundriss English Edition or Fundamentals after the settlement of Defendant’s
15
     previous infringement in January 2015.
16
             60.    Plaintiff first discovered Defendant’s second round of copyright infringement of
17
     Plaintiff’s copyrights on December 11, 2019.
18

19           61.    After verifying Defendant’s new and repeated acts of copyright infringement,

20   Plaintiff first notified Defendant of its infringement on December 20, 2019.

21           62.    In its email response to Plaintiff dated December 21, 2019, Defendant admitted
22   that Fundamentals had been made available for sale via its website. Copy of the correspondence
23
     is attached and incorporated hereto as Exhibit 6.
24
             63.    Plaintiff and Defendant arranged for a conference call on January 13, 2019 at 9.00
25
     a.m. to discuss Defendant’s unlawful reproduction and distribution of Fundamentals.
26
     SECOND AMENDED VERIFIED                                                     GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 14                                                  MANSUKHANI, LLP
                                                                                 701 5th Avenue, Suite 2100
                                                                                 Seattle, WA 98104
                                                                                 Telephone: (206) 695-5100
                                                                                 Facsimile: (206) 689-2822
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 1           64.    Upon information and belief, on January 13, 2020 at 8.06 a.m., shortly before the
 2   scheduled call, Defendant posted on its online Forums a statement purporting that Defendant
 3
     was still in negotiations for the rights to reproduce and distribute Fundamentals, i.e., “I’ll have
 4
     an update soon. Stay tuned ….”
 5

 6

 7

 8

 9

10

11

12
     Exhibit 4: https://community.logos.com/forums/t/180933.aspx (last visited October 25, 2022).
13
             65.    In an email to Plaintiff dated April 15, 2020, Defendant admitted that it “…
14

15   distributed Fundamentals of Catholic Dogma electronically last year.” and that “… we made

16   this mistake after having made it previously in 2013”. Copy of the email correspondence is

17   attached and incorporated hereto as Exhibit 7.
18           66.    In an email to Plaintiff dated May 6, 2020, Defendant stated that it “made almost
19
     zero mistakes on intellectual property rights (other than with you)” By this statement, Defendant
20
     admitted that it had infringed copyright(s) on at least one other occasion other than with Plaintiff.
21
     See Exhibit 7.
22

23           67.    Upon information and belief, Defendant claims that it consulted Stanford’s

24   Copyright Renewal Database to check the copyright status of Fundamentals.

25

26
     SECOND AMENDED VERIFIED                                                     GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 15                                                  MANSUKHANI, LLP
                                                                                 701 5th Avenue, Suite 2100
                                                                                 Seattle, WA 98104
                                                                                 Telephone: (206) 695-5100
                                                                                 Facsimile: (206) 689-2822
            Case 2:22-cv-01635-TL             Document 48          Filed 04/10/23        Page 16 of 32




 1           68.    Stanford’s Copyright Renewal Database contains only records of Copyright
 2   Renewals and not original registrations.4
 3
             69.    Defendant has obtained copyright registrations to several of its titles with the US
 4
     Copyright Office.5
 5
             70.    In its email of April 15, 2020, Defendant claimed that its “team members made a
 6

 7   good faith effort to determine the copyright status and ensure the title was in the public domain,

 8   using what they thought was a complete and correct process”. See Exhibit 7.

 9           71.    Defendant published many titles that are in the public domain and for those public
10
     domain titles, Defendant used CMI in form of “Copyright: Public Domain”. A true and correct
11
     copy of Defendant’s CMI pages for some of its public domain titles is attached and incorporated
12
     hereto as Exhibit 8.
13
             72.    Defendant did not provide Fundamentals with CMI stating “Copyright: Public
14

15   Domain.”

16           73.    Defendant provided Fundamentals with false CMI in the form of “Copyright:
17   1957 B. Herder Book Company”. A side-by-side comparison of Plaintiff’s CMI and Defendant’s
18
     CMI is attached and incorporated hereto as Exhibit 9.
19
             74.    Defendant provided Fundamentals with false CMI intentionally and purposefully.
20

21
     4
22     “Stanford's Copyright Renewal Database is a searchable index of the copyright renewal records for books
     published in the US between 1923 and 1963. Note that the database includes only renewal records, not original
23   registrations, and only Class A (book) renewals received by the US Copyright Office between 1950 and 1992.”
     (Source: https://exhibits.stanford.edu/copyrightrenewals, last visited April 10, 2023).
24   5
      https://cocatalog.loc.gov/cgi-
25   bin/Pwebrecon.cgi?Search_Arg=faithlife&Search_Code=FT*&PID=B7OtlO7Ik84KLsxumVLFRTrLTtPi&SEQ
     =20230226154300&CNT=25&HIST=1 (last visited April 10, 2023). Such copyright registrations included
     Copyright Nos: TX0008564431, TX0008385416, TX0008058095, TX0007891023
26
     SECOND AMENDED VERIFIED                                                    GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 16                                                 MANSUKHANI, LLP
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                                                                                Seattle, WA 98104
                                                                                Telephone: (206) 695-5100
                                                                                Facsimile: (206) 689-2822
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 1          75.    Such false CMI allowed Defendant to facilitate and conceal its acts of copyright
 2   infringement and conceal the true copyright holders.
 3
            76.    Defendant purposefully concealed its infringement from public on its online
 4
     Forums by using term “new copyrightholder” instead of clearly stating that Plaintiff was the
 5
     copyright holder.
 6

 7          77.    Defendant has caused irreparable damage to Plaintiff, the holder of copyright

 8   rights in Grundriss and Fundamentals by reproducing and distributing Fundamentals with false

 9   CMI.
10
            78.    Such false CMI, whether viewed by an individual, in a family circle, school
11
     classes, religious courses, monastery, convent etc., led readers to believe that Defendant had the
12
     right or authorization to reproduce and distribute the outdated, unauthorized and erroneous
13
     edition of Grundriss English Edition and Fundamentals.
14

15          79.    Upon information and belief, Defendant has reproduced and distributed at least 75

16   copies of Grundriss English Edition and Fundamentals with false CMI.
17          80.    Upon information and belief, Defendant derived and/or derives revenue or other
18
     benefits from its distribution of Grundriss English Edition and Fundamentals, thus profiting
19
     from the unauthorized exploitation of Plaintiff’s rights at the expense of Plaintiff and the public.
20
            81.    After Defendant had stopped reproducing and distributing Grundriss English
21

22   Edition and Fundamentals on or around June 26, 2019, and published a post stating that it

23   “learned more recently--and definitively--that the book has a new copyright holder.”, Defendant

24   never contacted Plaintiff regarding its acts of copyright infringement and did not make any
25   attempts to apologize or remedy its serial unlawful conduct.
26
     SECOND AMENDED VERIFIED                                              GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 17                                           MANSUKHANI, LLP
                                                                          701 5th Avenue, Suite 2100
                                                                          Seattle, WA 98104
                                                                          Telephone: (206) 695-5100
                                                                          Facsimile: (206) 689-2822
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 1          82.    Upon information and belief, Defendant made purposeful false statements on its
 2   online Forums to reinforce the false impression that Defendant was in negotiations to acquire
 3
     rights to reproduce and distribute Fundamentals and Defendant continues to display the posts
 4
     as of the filing of this Complaint.
 5
           Other Works of Plaintiff – Knox Bible and Divine Intimacy
 6

 7          83.    Upon information and belief, on Defendant’s online Forums, there are at least five

 8   threads regarding the Knox Bible and Divine Intimacy. A true and correct printouts of

 9   Defendant’s online Forums from Table 2 are attached and incorporated hereto as Exhibits Nos.
10
     10 to 14.
11
                                                 Table 2
12   Title Page            URL                                                          Exhibit No.
13   Knox Bible please!    https://community.logos.com/forums/t/97884.aspx              Exhibit 10

14   Book Suggestion:
                           https://community.logos.com/forums/t/181544.aspx             Exhibit 11
     Knox Bible
15   The Knox Bible –
                           https://suggestbooks.uservoice.com/forums/308269-book-
     Book Suggestions                                                                   Exhibit 12
                           suggestions/suggestions/10852821-the-knox-bible
16   for Logos
     Suggestion:
17                         https://community.logos.com/forums/p/185648/1071879.aspx     Exhibit 13
     Catholic Bibles
18   Divine Intimacy –
                           https://suggestbooks.uservoice.com/forums/308269-book-
     Book Suggestions                                                                   Exhibit 14
                           suggestions/suggestions/11225271-divine-intimacy
19   for Logos

20          84.    Upon information and belief, Defendant made several posts in their online Forums
21
     regarding the Knox Bible, e.g., “I’m working on it. Lots of Verbum irons in the fire with
22
     publishers right now”, “This book has been requested with the publisher”, “Licensing
23
     conversations are in progress for the Knox Bible with Baronius.”, “We're trying on the Knox
24

25   Bible. The rightsholder has been non-responsive to us thus far.” and “Just a quick update on

26
     SECOND AMENDED VERIFIED                                            GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 18                                         MANSUKHANI, LLP
                                                                        701 5th Avenue, Suite 2100
                                                                        Seattle, WA 98104
                                                                        Telephone: (206) 695-5100
                                                                        Facsimile: (206) 689-2822
           Case 2:22-cv-01635-TL          Document 48        Filed 04/10/23      Page 19 of 32




 1   the Knox Bible. The publisher has yet to respond to several attempts to license. We'll keep trying,
 2   but I just wanted to provide a quick update.”. See Exhibits Nos. 10-13
 3
            85.    Defendant acknowledged and named Baronius i.e., Plaintiff as the copyright
 4
     holder of Knox Bible.
 5
            86.    Upon information and belief, Defendant’ Online Forum “Divine Intimacy – Book
 6

 7   Suggestions for Logos” contains a link to Plaintiff’s website as the publisher of Divine Intimacy.

 8   See Exhibit 14.

 9          87.    Upon information and belief, Defendant made a post in its Online Forum subject
10
     matter “Divine Intimacy – Book Suggestions for Logos” stating “This book has been requested
11
     with the publisher.” The publisher referred to in Defendant’s statement was Baronius Press i.e.
12
     Plaintiff. See Exhibit 14.
13
            88.    Plaintiff never received any correspondence from Defendant to license or sell its
14

15   rights for the Knox Bible or Divine Intimacy.

16          89.    Upon information and belief, these false and misleading published statements on
17   Defendant’s online Forums caused, and continue to cause, the public, consumers, clients and
18
     prospective clients to believe, mistakenly, that Plaintiff has been and continues to be in
19
     negotiations with Defendant to grant its rights to Knox Bible or Divine Intimacy to Defendant
20
     and also being non-responsive to Defendant’s requests.
21

22                                   FIRST CLAIM FOR RELIEF
                    COPYRIGHT INFRINGEMENT UNDER FEDERAL LAW
23
                                         (17 U.S.C. § 101 et seq.)
24

25          Title – Grundriss der katholischen Dogmatik

26
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     COMPLAINT FOR DAMAGES - 19                                          MANSUKHANI, LLP
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                                                                         Seattle, WA 98104
                                                                         Telephone: (206) 695-5100
                                                                         Facsimile: (206) 689-2822
           Case 2:22-cv-01635-TL               Document 48   Filed 04/10/23     Page 20 of 32




 1           90.   The allegations of all foregoing Paragraphs are repleaded and incorporated by
 2   reference as if fully set forth herein.
 3
             91.   Grundriss der katholischen Dogmatik (“Grundriss”) is original work of
 4
     authorship subject to the full protection of the U.S. copyright laws.
 5
             92.   Plaintiff is, and has been since 2009, the exclusive licensee of the rights to
 6

 7   reproduce, adapt and distribute an English-language edition of the German-language original

 8   work Grundriss (“Grundriss English Edition”).

 9           93.   Defendant does not own, has never owned, and has never otherwise held any valid
10
     rights to Grundriss English Edition.
11
             94.   On January 29, 2015, Defendant executed a “Mutual Release and Settlement
12
     Agreement” with Plaintiff to settle and resolve its acts of copyright infringement related to its
13
     unlawful acts of reproducing and distributing Grundriss English Edition.
14

15           95.   During all material times, Defendant had constructive and actual knowledge that

16   Plaintiff is the copyright holder of Grundriss English Edition.
17           96.   Without Plaintiff’s authorization, Defendant willfully, intentionally and
18
     purposefully reproduced and distributed Grundriss English Edition, and/or a substantially
19
     similar reproduction thereof, in the U.S. in electronic/digital format through Logos and/or
20
     Verbum software platforms, and other means that are currently unknown to Plaintiff, in violation
21

22   of Section 501 of the Copyright Act.

23           97.   Defendant attempted to conceal its aforementioned acts of copyright infringement

24   by providing Grundriss English Edition with false CMI, by publishing statements that it is
25   negotiating with the copyright holder to obtain a permission to reproduce and distribute
26
     SECOND AMENDED VERIFIED                                             GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 20                                          MANSUKHANI, LLP
                                                                         701 5th Avenue, Suite 2100
                                                                         Seattle, WA 98104
                                                                         Telephone: (206) 695-5100
                                                                         Facsimile: (206) 689-2822
            Case 2:22-cv-01635-TL            Document 48       Filed 04/10/23      Page 21 of 32




 1   Grundriss English Edition, and other acts of concealment as alleged in this Complaint, as well
 2   as other acts of concealment not currently known by Plaintiff.
 3
             98.   The aforementioned infringement that has been induced, enabled, facilitated, or
 4
     concealed under the statute is, at a minimum, an infringement of Plaintiff’s exclusive right under
 5
     the preamble to 17 U.S.C. 106 to authorize (or set the terms for) the reproduction and distribution
 6

 7   of copies of works it owns, as well as Plaintiff’s exclusive right under 17 U.S.C. 106(3) to

 8   “distribute copies … of the copyrighted work to the public by sale or other transfer of

 9   ownership.”
10
             99.   Defendant’s aforesaid acts of infringement were committed willfully in reckless
11
     disregard of the rights of Plaintiff.
12
             100. Upon information and belief, Defendant has received and/or continues to receive
13
     revenue and profits arising out of the unauthorized use and exploitation of Grundriss English
14

15   Edition to which Defendant is not entitled and, as a direct and proximate result of Defendant’s

16   acts of copyright infringement, Plaintiff has sustained and will sustain monetary damage, loss,
17   and injury.
18
             101. As a result of Defendant’s acts of infringement alleged herein and in accordance
19
     with Section 504(b) of the Copyright Act, Plaintiff is entitled to recover from Defendant the
20
     damages Plaintiff has sustained and will sustain, and any profits obtained by Defendant as a
21

22   result of or attributable to the infringement or statutory damages, as elected by Plaintiff.

23   Plaintiff’s investigation of the extent of its losses and damages is ongoing as of this filing of this

24   Complaint. At present, the amount of such damages and profits cannot be fully ascertained by
25   Plaintiff.
26
     SECOND AMENDED VERIFIED                                               GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 21                                            MANSUKHANI, LLP
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           Case 2:22-cv-01635-TL               Document 48    Filed 04/10/23    Page 22 of 32




 1          102. Plaintiff is also entitled to injunctive relief against Defendant to prohibit it from
 2   continuing in the aforementioned acts of copyright infringement and related conduct, the
 3
     parameters of which to be determined at trial.
 4
                                     SECOND CLAIM FOR RELIEF
 5
                     COPYRIGHT INFRINGEMENT UNDER FEDERAL LAW
 6                                         (17 U.S.C. § 101 et seq.)
 7
             Title – Fundamentals of Catholic Dogma
 8

 9           103. The allegations of all foregoing Paragraphs are repleaded and incorporated by

10   reference as if fully set forth herein.
11           104. Fundamentals of Catholic Dogma (“Fundamentals”) is an original work of
12
     authorship subject to the full protection of the U.S. copyright laws.
13
             105. Plaintiff is, and has been since 2010, the sole and exclusive owner of all copyright
14
     rights in and to the English-language work Fundamentals.
15

16           106. Defendant does not own, has never owned, and has never otherwise held any valid

17   copyright rights to reproduce, adapt and distribute Fundamentals.

18           107. On January 29, 2015, Defendant executed a “Mutual Release and Settlement
19
     Agreement” with Plaintiff to settle and resolve its acts of copyright infringement related to its
20
     unlawful acts of reproducing and distributing Fundamentals.
21
             108. During all material times, Defendant had constructive and actual knowledge that
22
     Plaintiff is the copyright holder of Fundamentals.
23

24           109. Without Plaintiff’s authorization, Defendant willfully, intentionally and

25   purposefully reproduced and distributed Fundamentals, and/or a substantially similar
26   reproduction thereof, in the U.S. in electronic/digital format through Defendant’s Logos and/or
     SECOND AMENDED VERIFIED                                             GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 22                                          MANSUKHANI, LLP
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                                                                         Seattle, WA 98104
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           Case 2:22-cv-01635-TL             Document 48     Filed 04/10/23      Page 23 of 32




 1   Verbum software platforms and other means that are currently unknown to Plaintiff, in violation
 2   of Section 501 of the Copyright Act.
 3
               110. Defendant attempted to conceal its aforementioned acts of copyright infringement
 4
     by providing Fundamentals with false CMI, by publishing statements that it is negotiating with
 5
     the copyright holder to obtain a permission to reproduce and distribute Fundamentals, and other
 6

 7   acts of concealment as alleged in this Complaint, as well as other acts of concealment not

 8   currently known by Plaintiff.

 9             111. The aforementioned infringement that has been induced, enabled, facilitated, or
10
     concealed under the statute is, at a minimum, an infringement of Plaintiff’s exclusive right under
11
     the preamble to 17 U.S.C. 106 to authorize (or set the terms for) the reproduction and distribution
12
     of copies of works it owns, as well as Plaintiff’s exclusive right under 17 U.S.C. 106(3) to
13
     “distribute copies … of the copyrighted work to the public by sale or other transfer of
14

15   ownership.”

16             112. Defendant’s aforesaid acts of infringement were committed willfully in reckless
17   disregard of the rights of Plaintiff.
18
               113. Upon information and belief, Defendant has received and/or continues to receive
19
     revenue and profits arising out of the unauthorized use and exploitation of Fundamentals to
20
     which Defendant is not entitled and, as a direct and proximate result of Defendant’s acts of
21

22   copyright infringement, Plaintiff has sustained and will sustain monetary damage, loss, and

23   injury.

24             114. As a result of Defendant’s acts of infringement alleged herein and in accordance
25   with Section 504(b) of the Copyright Act, Plaintiff is entitled to recover from Defendant the
26
     SECOND AMENDED VERIFIED                                             GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 23                                          MANSUKHANI, LLP
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                                                                         Seattle, WA 98104
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                                                                         Facsimile: (206) 689-2822
            Case 2:22-cv-01635-TL          Document 48         Filed 04/10/23      Page 24 of 32




 1   damages Plaintiff has sustained and will sustain, and any profits obtained by Defendant as a
 2   result of or attributable to the infringement or statutory damages, as elected by Plaintiff.
 3
     Plaintiff’s investigation of the extent of its losses and damages is ongoing as of this filing of this
 4
     Complaint. At present, the amount of such damages and profits cannot be fully ascertained by
 5
     Plaintiff.
 6

 7           115. Plaintiff is also entitled to injunctive relief against Defendant to prohibit it from

 8   continuing in the aforementioned acts of copyright infringement and related conduct, the

 9   parameters of which to be determined at trial.
10
                                      THIRD CLAIM FOR RELIEF
11                          DIGITAL MILLENNIUM COPYRIGHT ACT
12                                       (17 U.S.C. § 1202 et seq.)

13
             Title – Grundriss der katholischen Dogmatik
14
             116. Plaintiff repeats and realleges all the allegations contained in the preceding
15

16   paragraphs as if the same were set forth at length herein.

17           117. Grundriss der katholischen Dogmatik (“Grundriss”) is original work of

18   authorship subject to the full protection of the U.S. copyright laws.
19
             118. Plaintiff is, and has been since 2009, the exclusive licensee of the rights to
20
     reproduce, adapt and distribute an English-language edition of the German-language original
21
     work Grundriss (“Grundriss English Edition”).
22
             119. Plaintiff has ownership interests in Grundriss English Edition and has developed
23

24   a reputation and valuable goodwill associated with Grundriss English Edition.

25           120. The Grundriss English Edition published by Plaintiff contains CMI such as the
26   title(s) and other information identifying the work(s); the name(s) of, and other identifying
     SECOND AMENDED VERIFIED                                         GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 24                                      MANSUKHANI, LLP
                                                                           701 5th Avenue, Suite 2100
                                                                           Seattle, WA 98104
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           Case 2:22-cv-01635-TL         Document 48        Filed 04/10/23     Page 25 of 32




 1   information about the author(s) of the work(s); the name(s) of, and other identifying information
 2   about the copyright owner(s) of the work(s); and/or the terms and conditions for use of the
 3
     work(s).
 4
            121. Defendant provided Grundriss English Edition with CMI that was false.
 5
            122. Defendant reproduced and distributed copies of Grundriss English Edition that
 6

 7   contained false CMI, knowing that such CMI was false. A side-by-side comparison of Plaintiff’s

 8   CMI and Defendant’s CMI for Grundriss English Edition is attached and incorporated hereto as

 9   Exhibit 9.
10
            123. The false CMI in Defendant’s copies of Grundriss English Edition enabled
11
     Defendant to facilitate and conceal its willful acts of copyright infringement and to conceal the
12
     true copyright holder(s) of Grundriss.
13
            124. Defendant purposefully concealed its acts of willful copyright infringement from
14

15   the public on its online Forums by using the term “new copyrightholder” instead of clearly

16   stating that Plaintiff was the copyright holder of Grundriss English Edition.
17          125. Defendant has violated 17 U.S.C. § 1202 numerous times, by distributing
18
     infringing copies of Grundriss English Edition with false CMI.
19
            126. The conduct of Defendant was intentional and purposeful at a minimum as
20
     Defendant had constructive and actual knowledge of the true copyright holder of Grundriss
21

22   English Edition.

23          127. Defendant has realized a profit by virtue of its violations of 17 U.S.C. § 1202.

24          128. Plaintiff has sustained actual damages as a result of Defendant and its
25   aforementioned violation of 17 U.S.C. § 1202 in an amount to be proven at trial, but arising
26
     SECOND AMENDED VERIFIED                                            GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 25                                         MANSUKHANI, LLP
                                                                        701 5th Avenue, Suite 2100
                                                                        Seattle, WA 98104
                                                                        Telephone: (206) 695-5100
                                                                        Facsimile: (206) 689-2822
            Case 2:22-cv-01635-TL             Document 48        Filed 04/10/23     Page 26 of 32




 1   from reputation damage, legal fees, diminished market value of Grundriss English Edition, and
 2   loss of control of ownership of Grundriss English Edition.
 3
                 129. Defendant’s violations of 17 U.S.C. § 1202 entitle Plaintiff to recover, among
 4
     other things, and if it so elects as provided in 17 U.S.C. § 1203(c)(3)(B), “an award of statutory
 5
     damages for each violation of Section 1202 in the sum of not less than $2,500 or more than
 6

 7   $25,000.”

 8               130. Plaintiff will request from Defendant the number of copies of Grundriss English

 9   Edition that Defendant reproduced and distributed with false CMI.
10
                 131. Upon verification by Plaintiff and this Court of such actual number, Plaintiff will
11
     be entitled to recover statutory damages against Defendant of between $2,500 up to $25,000 for
12
     each copy of the Grundriss English Edition that Defendant distributed in violation of 17 U.S.C.
13
     § 1202.
14

15               132. Plaintiff is also entitled to injunctive relief against Defendant to prohibit it from

16   continuing in the aforementioned unlawful conduct, the parameters of which to be determined
17   at trial.
18
                                       FOURTH CLAIM FOR RELIEF
19                              DIGITAL MILLENNIUM COPYRIGHT ACT
20                                          (17 U.S.C. § 1202 et seq.)
21
                 Title – Fundamentals of Catholic Dogma
22
                 133. Plaintiff repeats and realleges all the allegations contained in the preceding
23

24   paragraphs as if the same were set forth at length herein.

25               134. Fundamentals of Catholic Dogma (“Fundamentals”) is an original work of
26   authorship subject to the full protection of the U.S. copyright laws.
     SECOND AMENDED VERIFIED                                             GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 26                                          MANSUKHANI, LLP
                                                                             701 5th Avenue, Suite 2100
                                                                             Seattle, WA 98104
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           Case 2:22-cv-01635-TL          Document 48        Filed 04/10/23      Page 27 of 32




 1          135. Plaintiff is, and has been since 2010, the sole and exclusive owner of all copyright
 2   rights in and to the English-language work Fundamentals.
 3
            136. Plaintiff has ownership interests in Fundamentals and has developed a reputation
 4
     and valuable goodwill associated with Fundamentals.
 5
            137. Fundamentals published by Plaintiff contains CMI such as the title(s) and other
 6

 7   information identifying the work(s); the name(s) of, and other identifying information about the

 8   author(s) of the work(s); the name(s) of, and other identifying information about the copyright

 9   owner(s) of the work(s); and/or the terms and conditions for use of the work(s).
10
            138. Defendant provided Fundamentals with CMI that was false.
11
            139. Defendant reproduced and distributed copies of Fundamentals that contained false
12
     CMI, knowing that such CMI was false. A side-by-side comparison of Plaintiff’s CMI and
13
     Defendant’s CMI for Fundamentals is attached and incorporated hereto as Exhibit 9.
14

15          140. The false CMI in Defendant’s copies of Fundamentals enabled Defendant to

16   facilitate and conceal its willful acts of copyright infringement and to conceal the true copyright
17   holder(s) of Fundamentals.
18
            141. Defendant purposefully concealed its acts of willful copyright infringement from
19
     the public on its online Forums by using the term “new copyrightholder” instead of clearly
20
     stating that Plaintiff was the copyright holder of Fundamentals.
21

22          142. Defendant has violated 17 U.S.C. § 1202 numerous times, by distributing

23   infringing copies of Fundamentals with false CMI.

24          143. The conduct of Defendant was intentional and purposeful at a minimum as
25   Defendant had constructive and actual knowledge of the true copyright holder of Fundamentals.
26
     SECOND AMENDED VERIFIED                                             GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 27                                          MANSUKHANI, LLP
                                                                         701 5th Avenue, Suite 2100
                                                                         Seattle, WA 98104
                                                                         Telephone: (206) 695-5100
                                                                         Facsimile: (206) 689-2822
            Case 2:22-cv-01635-TL             Document 48        Filed 04/10/23     Page 28 of 32




 1               144. Defendant has realized a profit by virtue of its violations of 17 U.S.C. § 1202.
 2               145. Plaintiff has sustained actual damages as a result of Defendant and its
 3
     aforementioned violation of 17 U.S.C. § 1202 in an amount to be proven at trial, but arising
 4
     from reputation damage, legal fees, diminished market value of Fundamentals, and loss of
 5
     control of ownership of Fundamentals.
 6

 7               146. Defendant’s violations of 17 U.S.C. § 1202 entitle Plaintiff to recover, among

 8   other things, and if it so elects as provided in 17 U.S.C. § 1203(c)(3)(B), “an award of statutory

 9   damages for each violation of Section 1202 in the sum of not less than $2,500 or more than
10
     $25,000.”
11
                 147. Plaintiff will request from Defendant the number of copies of Fundamentals that
12
     Defendant reproduced and distributed with false CMI.
13
                 148. Upon verification by Plaintiff and this Court of such actual number, Plaintiff will
14

15   be entitled to recover statutory damages against Defendant of between $2,500 up to $25,000 for

16   each copy of Fundamentals that Defendant distributed in violation of 17 U.S.C. § 1202.
17               149. Plaintiff is also entitled to injunctive relief against Defendant to prohibit it from
18
     continuing in the aforementioned unlawful conduct, the parameters of which to be determined
19
     at trial.
20
                                  PRAYER FOR RELIEF; JURY DEMAND
21

22                     WHEREFORE, for the reasons set forth above, the Plaintiff respectfully prays that

23   the Court enters judgment against Defendant as follows:

24               1.    That Plaintiff recover from Defendant and is awarded, under 17 U.S.C. §§ 504(b),
25   504(c), 1203(b)(3), 1203(c)(1), 1203(c)(2), and/or 1203(c)(3) and other applicable law,
26
     SECOND AMENDED VERIFIED                                                 GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 28                                              MANSUKHANI, LLP
                                                                             701 5th Avenue, Suite 2100
                                                                             Seattle, WA 98104
                                                                             Telephone: (206) 695-5100
                                                                             Facsimile: (206) 689-2822
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 1   statutory, and other applicable damages, including damages, that are available to Plaintiff, and
 2   are related to Defendant’s willful acts of copyright infringement, and distribution of copies of
 3
     Grundriss English Edition and Fundamentals with false CMI and/or other copyright-related
 4
     misconduct alleged herein, in amounts to be determined at trial;
 5
            2.     That Plaintiff is awarded, under 17 U.S.C. §§ 505, 1203(b)(4), and/or 1203(b)(5)
 6

 7   and/or other applicable law, costs and disbursements of this action, including Plaintiff’s

 8   reasonable attorneys’ fees and expenses in this action that are available to Plaintiff, and are

 9   related to Defendant’s acts of copyright infringement and distribution of Grundriss English
10
     Edition and Fundamentals with false CMI and other copyright-related misconduct alleged
11
     herein, in amounts to be determined at trial;
12
            3.     Injunctive relief in a form of an order:
13
                 a. Compelling the Defendant to secure the immediate removal of false statements
14

15                  and other false content about Plaintiff on its websites, blogs and social media;

16               b. Compelling the Defendant to make all reasonable efforts to remove any and all
17                  caches of any content Defendant published about the Plaintiff that may be found
18
                    on any search engines and cooperate with Plaintiff’s efforts to do so;
19
                 c. Enjoining the Defendant from posting false and defamatory statements about the
20
                    Plaintiff
21

22          4.     That Plaintiff is awarded pre-judgment and post-judgment interest on each and

23   every damage award as allowed by Federal law;

24          5.     That an order be issued permanently enjoining Defendant and its officers,
25   directors, owners, parents, partners, affiliates, employees, agents, servants, attorneys,
26
     SECOND AMENDED VERIFIED                                            GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 29                                         MANSUKHANI, LLP
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 1   representatives, successors, and assigns, and any and all persons in active concert or
 2   participation with any of them, and any and all persons acting for, with, by, through, or under
 3
     any of them, from the following:
 4
                 a. engaging in the misconduct referenced in this Complaint;
 5
                 b. imitating, copying, or making unauthorized use of Plaintiff’s Works, or content
 6

 7                   thereof;

 8               c. importing, exporting,      manufacturing,     printing, producing, distributing,

 9                  circulating, selling, offering for sale, advertising, promoting or displaying any
10
                    product that is or includes any copy, simulation, reproduction, counterfeit, or
11
                    colorable imitation of Plaintiff’s Works, or content thereof;
12
                 d. making any false representations or false descriptions of fact concerning or
13
                    relating to Plaintiff, or Plaintiff’s Works, or content thereof;
14

15               e. performing any act which is likely to lead members of the trade or public to

16                  believe that any product manufactured, distributed, advertised, or sold by
17                  Defendant is in any manner associated or connected with Plaintiff, or is sold,
18
                    manufactured, licensed, sponsored, approved, or otherwise authorized by
19
                    Plaintiff; and
20
                 f. further infringing the rights of Plaintiff in and to any of its intellectual property
21

22                  or otherwise damaging Plaintiff’s goodwill or business reputation;

23          6.     That Defendant be ordered to account for and disgorge any and all profits that are

24   attributable to Defendant’s wrongful conduct, and that Plaintiff be awarded statutory damages
25   for Defendant’s willful, intentional and purposeful conduct;
26
     SECOND AMENDED VERIFIED                                              GORDON REES SCULLY
     COMPLAINT FOR DAMAGES - 30                                           MANSUKHANI, LLP
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           Case 2:22-cv-01635-TL          Document 48          Filed 04/10/23      Page 31 of 32




 1          7.     That a constructive trust be imposed on all of Defendant’s funds and assets that
 2   arise out of its wrongful conduct;
 3
            8.     That Defendant be ordered to deliver to Plaintiff’s counsel, for destruction at
 4
     Defendant’s costs, all products, packaging, promotional material, advertising material, catalogs
 5
     and any other items that bear, contain, or incorporate Plaintiff’s Works, Licensed Works, and/or
 6

 7   any copy, simulation, reproduction, counterfeit, or colorable imitation thereof;

 8          9.     That Defendant be ordered to file with this Court and serve upon Plaintiff’s

 9   counsel, within thirty (30) days after service of the judgment demanded herein, a written report
10
     submitted under oath setting forth in detail the manner in which Defendant has complied with
11
     the judgment;
12
            10.    For trial by jury on all issues; and
13
            11.    That Plaintiff receives such other and further relief as to the Court may seem just
14

15   and proper.

16

17   Dated: April 10, 2023                                GORDON REES SCULLY MANSUKHANI,
                                                          LLP
18

19
                                                          By: /s/ William M. Hughbanks
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                            Case 2:22-cv-01635-TL          Document 48        Filed 04/10/23      Page 32 of 32




           1                                         CERTIFICATE OF SERVICE

           2
                            I hereby certify that on this date, I electronically filed the foregoing with the Clerk of
           3
                      the Court using the CM/ECF system which will send notification of such filing to the
           4
                      following:
           5
                            Nicholas F. Lenning, WSBA #54740
           6                Ashley E.M. Gammell, WSBA #50123
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         11                 Attorneys for Defendant Faithlife LLC
         12

         13
                                                                        By: /s/ William M. Hughbanks
         14
                                                                            William M. Hughbanks WSBA # 45562
         15

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